                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-454
                                        No. COA20-485

                                    Filed 7 September 2021

     Stokes County, No. 18 CVS 824

     LAUREN OSBORNE, by and through her GUARDIAN, MICHELLE ANN
     POWELL and MICHELLE ANN POWELL, Plaintiffs,

           v.

     YADKIN VALLEY ECONOMIC DEVELOPMENT DISTRICT, INCORPORATED;
     STOKES COUNTY BOARD OF EDUCATION; STOKES COUNTY SCHOOLS;
     SONYA M. COX; PATRICIA M. MESSICK; REBECCA BOLES; WILLIAM HART;
     JAMIE YONTZ; BRAD LANKFORD; RONNIE MENDENHALL; JEFF
     COCKERHAM; Defendants.


           Appeal by Plaintiffs from orders entered 26 August 2019 by Judge Stanley L.

     Allen and 18 February 2020 by Judge Eric C. Morgan in Stokes County Superior

     Court. Heard in the Court of Appeals 26 January 2021.

           Hendrick Bryant Nerhood Sanders &amp; Otis, LLP, by W. Kirk Sanders and
           Joshua P. Dearman, for Plaintiffs-Appellants.

           Tharrington Smith, LLP, by Deborah R. Stagner, for Stokes County Board of
           Education, Defendant-Appellee.


           WOOD, Judge.


¶1         Lauren Osborne (“Lauren”) and Michelle Ann Powell (“Ms. Powell”), Lauren’s

     mother, (collectively, “Plaintiffs”) appeal from an order granting summary judgment

     regarding Plaintiffs’ negligence claim and Title IX of the Education Amendments of

     1972 (“Title IX”) claim in favor of the Stokes County Board of Education (the “Board”),
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     and an order dismissing Plaintiffs’ claims under 42 U.S.C. § 1983 et seq. (“Section

     1983”). After careful review of the record and applicable law, we affirm the order of

     the trial court.

                                     I.     Background

¶2          Lauren was a twenty-year-old special-needs student who attended West Stokes

     High School. Lauren is severely disabled with an IQ of forty-one and the functional

     capacity of a first-grade student. Testimony from Lauren’s teacher, nurse, assistant,

     principal, yellow bus driver, and the superintendent demonstrates Lauren was

     vulnerable, immature, and susceptible to exploitation. In addition to her mental

     disability, Lauren suffers from severe diabetes. Her condition requires her to have

     an insulin pump, emergency medical plan, and monitoring by adults throughout the

     day as she has needed transportation to the hospital for medical care on several

     occasions. Lauren also required constant adult supervision at school to prevent

     bullying by other students.

¶3          Every special-needs student has their own Individualized Education Plan

     (“IEP”) prepared by an IEP team that outlines that student’s learning plan. Jane

     Wettach, Parents’ Guide to Special Education in North Carolina 12 (2017).

     https://law.duke.edu/childedlaw/docs/Parents%27_guide.pdf.     The Board oversees

     and administers public schools in Stokes County, North Carolina. Entities, like the

     Board, are required to give parents advance notice of a student’s annual IEP
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     development meeting. The Board is also required to encourage parents to participate

     in the development of their student’s learning plans. Throughout her enrollment in

     Stokes County Schools (“SCS”), Lauren had an IEP, and she received transportation

     to her assigned school as a “related service” to her IEP, under the federal Individuals

     with Disabilities Education Act (“IDEA”), 20 U.S.C. § 1400 et seq. Prior to November

     2013, Lauren rode to West Stokes High School on a yellow school bus owned by SCS.

     Lauren’s bus exclusively transported special-needs students and had an assigned bus

     monitor1 because other students on the bus required a monitor as part of their IEPs.

     This bus was known as an exceptional children’s (“EC”) bus.

¶4           In 2013, many special-needs students in Stokes County were assigned to

     specialized classes offered at schools other than their districted schools, and their bus

     rides could be exceptionally long. To address the long bus rides for students and to

     promote the efficiency of its bus fleet, SCS Transportation Director Brad Lankford

     (“Mr.   Lankford”)     recommended       that     the    Board   explore   using   contracted

     transportation for exceptional students.           Mr. Lankford investigated the cost of

     contracting transportation services.        In August 2013, the Board contracted with

     Yadkin Valley Economic Development District, Inc. (“YVEDDI”) to provide



             1 A bus monitor rides a school bus on assigned route(s) and schedule(s) to provide safe

     and efficient transportation so that a student may enjoy the fullest possible advantage from
     the programs and offerings of the school system. We use “bus monitor” and “safety monitor”
     interchangeably throughout.
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     transportation for some of the special-needs students enrolled in SCS.

¶5          YVEDDI is a non-profit corporation that has provided transportation services

     for several neighboring school districts for decades.            YVEDDI also provides

     transportation services for Head Start2 and sheltered workshop programs for adults

     with disabilities.    Before recommending that YVEDDI provide transportation

     services for SCS students, Mr. Lankford talked to transportation directors in

     surrounding counties to get references and an idea of the cost and type of services

     YVEDDI provided. Mr. Lankford also requested qualification and safety information

     from YVEDDI’s transportation director, Jeff Cockerham (“Mr. Cockerham”).

     YVEDDI had a safety plan in place which included driver hiring procedures and

     qualifications, drug testing, vehicle maintenance, and security. Before the Board

     entered into its initial contract with YVEDDI, Mr. Cockerham provided to Mr.

     Lankford the following: YVEDDI’s safety plan; minimum qualifications for YVEDDI

     drivers; training program for YVEDDI drivers; YVEDDI’s drug and alcohol

     compliance documentation; preventative maintenance schedule; and certificate of

     liability insurance. YVEDDI offered to quote its bid with safety monitors on board

     the vehicles, but the Board declined to have YVEDDI include safety monitors in the



            2 Head Start is a federally funded, comprehensive program designed to promote the

     readiness of infants, toddlers, and preschool-aged children from low-income families through
     a variety of special services.
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     bid. The State does not reimburse school systems for safety monitors.

¶6         The Board’s contract with YVEDDI required the transportation company to

     comply with its approved safety plan, provide a well-trained driver, conduct pre-

     employment criminal background checks and drug testing of drivers, and to conduct

     random drug testing according to North Carolina Department of Transportation

     (“NCDOT”) regulations.     YVEDDI began transporting some SCS special-needs

     students to and from school in August 2013, at the start of the 2013-2014 school year.

     The Board entered into subsequent contracts with YVEDDI to transport special-

     needs students to and from school in the 2014-2015 and 2015-2016 school years. The

     YVEDDI vans that transported SCS students were equipped with safety equipment

     including first aid kits, NCDOT-mandated video cameras, and “push to talk phones.”

¶7         Lauren was accustomed to riding a yellow school bus with other special-needs

     students and a safety monitor for transportation to West Stokes High School.

     Starting in November 2013, the Board changed Lauren’s transportation from an

     exceptional students school bus with a safety monitor to a YVEDDI van that did not

     have a safety monitor. The school notified Lauren’s mother of the change to Lauren’s

     transportation service only after the arrangements were made. According to Mr.

     Lankford’s deposition testimony, Lauren’s change from an exceptional students

     school bus with a safety monitor to a YVEDDI van without one required an IEP team

     meeting.   Additionally, Lauren’s teacher testified that transportation was not
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     discussed in Lauren’s annual IEP meeting, and furthermore, had it been discussed

     during the meeting, he would have recommended a safety monitor for his special-

     needs students like Lauren.

¶8         During the 2014-2015 and 2015-2016 school years, Lauren was transported in

     a YVEDDI van driven by Robert King (“King”), a YVEDDI employee. King held a

     valid North Carolina driver’s license that met YVEDDI’s license requirements. King

     completed YVEDDI’s application, screening, and driver training required under

     YVEDDI’s safety plan. King had no prior criminal record and received both pre-

     employment and quarterly criminal background checks. King was drug tested and

     received forty hours of classroom and on-the-job driver training that met NCDOT

     standards. King was trained on interacting with disabled passengers; sensitivity and

     sexual harassment; defensive driving; bloodborne pathogens; and first aid and CPR.

     King was also informed he was not supposed to touch the students he was

     transporting.

¶9          On two separate days in December 2015, while transporting Lauren and other

     students, King stopped the YVEDDI van multiple times and sexually assaulted

     Lauren. The YVEDDI van was equipped with video cameras, and video evidence

     reveals King sexually assaulted Lauren twenty-one times by groping and digitally

     penetrating her. Though Lauren was twenty years old, she only had the functional

     capacity of a first-grade student and lacked the capability to comprehend and consent
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       to the sexual acts committed against her.                  Specifically, Lauren lacked the

       communication skills to tell Ms. Powell why she suffered from anal bleeding resulting

       from the sexual assaults.

¶ 10         A Stokes County resident was concerned about the operation of the van and

       reported King’s driving to YVEDDI, which prompted the company to review the video

       footage on Lauren’s van. YVEDDI discovered King’s inappropriate actions against

       Lauren and immediately reported King’s actions to law enforcement and terminated

       his contract. YVEDDI did not notify the Board of the assaults, King’s arrest, or King’s

       termination. School officials first learned about the sexual assaults from Lauren’s

       mother, Ms. Powell, after she was contacted by law enforcement following King’s

       arrest. When the Board’s superintendent, assistant superintendent, Exceptional

       Childrens director, transportation director, and the West Stokes High School

       principal all learned of the sexual assaults, they did not investigate for other potential

       sexual assaults against students, draft a report on Lauren’s sexual abuse, or offer

       post-abuse counseling. The Board’s policies require all verified sexual assault cases

       to be investigated and reported to the State Board of Education. The Board also

       requires written documentation of all reports of sexual assaults and requires the

       school system’s responses to be maintained. The Board did not report Lauren’s sexual

       assaults to the State Board of Education as required by its standard procedure, nor

       did it offer an explanation as to why it did not follow its standard procedure.
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¶ 11         On December 4, 2018, Plaintiffs filed a complaint against the Board, the

       Board’s individual school board members and staff, YVEDDI, Mr. Cockerham, and

       SCS. Plaintiffs asserted claims for negligence; negligence per se; negligent infliction

       of emotional distress; Section 1983 discrimination; Title IX damages; and negligent

       supervision, retention, and common carrier stemming from the multiple sexual

       assaults by the van driver.

¶ 12         On March 6, 2019, the Board filed its answer and motion to dismiss Plaintiffs’

       Section 1983 and Title IX claims. On August 26, 2019, the trial court granted the

       Board’s motion in part, dismissing all of Plaintiffs’ Section 1983 claims and Plaintiffs’

       Title IX claims with respect to the individual school board members and staff. The

       Title IX claims against the Board, however, remained intact. On August 22, 2019,

       Plaintiffs voluntarily dismissed their claims against YVEDDI and Mr. Cockerham.

¶ 13         On November 13, 2019, Plaintiffs moved for partial summary judgment on

       liability and causation of damages regarding Plaintiffs’ negligence per se claim. The

       Board moved for summary judgment as to Plaintiffs’ remaining Title IX; negligence;

       negligence per se; and negligent supervision, retention and common carrier claims on

       November 14, 2019. On February 18, 2020, the trial court denied Plaintiffs’ motion

       for partial summary judgment and granted the Board’s motion for summary

       judgment on Plaintiffs’ negligence per se; negligence; negligent infliction of emotional

       distress; Title IX; and negligent hiring, training, retention, and supervision claims.
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       On March 2, 2020, Plaintiffs filed a notice of appeal.

                                        II.       Discussion

¶ 14         Plaintiffs raise several arguments on appeal. Each will be addressed in turn.

       A. The Board’s Motion to Dismiss

¶ 15         Plaintiffs contend the trial court erred in granting the Board’s motion to

       dismiss Plaintiffs’ claims under Section 1983. Plaintiffs’ claims arise from alleged

       violations of Lauren’s constitutional rights to equal protection and substantive due

       process. Plaintiffs asserted an additional Section 1983 claim alleging failure to train

       and supervise. Specifically, Plaintiffs argue the trial court erred in dismissing their

       Section 1983 claims because their complaint “stated sufficient factual allegations” to

       state a claim pursuant to N.C. R. Civ. P. 12(b)(6). We disagree.

¶ 16         In reviewing an order granting a motion to dismiss, “we review the pleadings

       de novo to determine their legal sufficiency and . . . whether the trial court’s ruling

       was proper.” Radcliffe v. Avenel Homeowners Ass’n, Inc., 248 N.C. App. 541, 552, 789

       S.E.2d 893, 902 (2016) (citation omitted). “A motion to dismiss under Rule 12(b)(6)

       tests the legal sufficiency of the complaint.” Raritan River Steel Co. v. Cherry, Bekaert

       &amp; Holland, 322 N.C. 200, 205, 367 S.E.2d 609, 612 (1988). “North Carolina is a notice

       pleading state.” White v. Trew, 366 N.C. 360, 363, 736 S.E.2d 166, 168 (2013) (citation

       omitted). “While the concept of notice pleading is liberal in nature, a complaint must

       nonetheless state enough to give the substantive elements of a legally recognized
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       claim or it may be dismissed under Rule 12(b)(6).” Raritan River Steel Co., 322 N.C.

       at 205, 367 S.E.2d at 612.

¶ 17         “When the complaint on its face reveals the absence of fact sufficient to make

       a good claim, dismissal of the claim pursuant to Rule 12(b)(6) is properly granted.”

       Oberlin Capital, L.P. v. Slavin, 147 N.C. App. 52, 57, 554 S.E.2d 840, 845 (2001)

       (internal quotations marks, citation, and alterations omitted).       “On a motion to

       dismiss, the complaint’s material factual allegations are taken as true.          Legal

       conclusions, however, are not entitled to a presumption of validity.” Wells Fargo

       Bank, N.A. v. Corneal, 238 N.C. App. 192, 195, 767 S.E.2d 374, 377 (2014) (citation

       omitted). Dismissal is appropriate when “(1) the complaint on its face reveals that

       no law supports the plaintiff’s claim; (2) the complaint on its face reveals the absence

       of facts sufficient to make a good claim; or (3) the complaint discloses some fact that

       necessarily defeats the plaintiff’s claim.” Wood v. Guilford Cnty., 355 N.C. 161, 166,

       558 S.E.2d 490, 494 (2002) (citation omitted).

          1. Equal Protection

¶ 18         Plaintiffs allege the Board violated Lauren’s constitutional right to equal

       protection. The Equal Protection Clause of the Fourteenth Amendment (the “Equal

       Protection Clause”) to the United States Constitution (the “Constitution”) provides

       that “[n]o State shall . . . deny to any person within its jurisdiction the equal

       protection of the laws.” U.S. Const. amend. XIV, § 1. To state an equal protection
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       claim, a plaintiff must plead sufficient facts to “demonstrate that he has been treated

       differently from others with whom he is similarly situated and that the unequal

       treatment was the result of intentional or purposeful discrimination.” Williams v.

       Hansen, 326 F.3d 569, 576 (4th Cir. 2003) (citation and quotation marks omitted),

       cert. denied, 540 U.S. 1089, 124 S. Ct. 958, 157 L. Ed. 2d 794 (2003); see also Gilreath

       v. Cumberland Cnty. Bd. of Educ., No. COA16-927, 2017 N.C. App. LEXIS 307, at

       *16-17 (N.C. Ct. App. April 18, 2017). The second element of an equal protection

       claim requires factual allegations sufficient to show that any unequal treatment was

       done intentionally or purposefully to discriminate against the plaintiff. Good Hope

       Hosp., Inc. v. N.C. Dept. of Health and Human Servs., 174 N.C. App. 266, 274, 620

       S.E.2d 873, 880 (2005)).

¶ 19         Here, the complaint alleges that “Lauren, as a female, is a member of a

       protected class under the Equal Protection Clause of the Fourteenth Amendment to

       the United States Constitution.” However, because the complaint is devoid of any

       factual allegations sufficient to establish that Lauren was treated differently from

       similarly situated male students, it fails to state the first element of an equal

       protection violation based on Lauren’s gender. See Hanton v. Gilbert, 842 F. Supp.

       845, 854 (M.D.N.C.), aff’d, 36 F.3d 4 (4th Cir. 1994) (“Plaintiff must show that she

       was treated differently from other similarly situated individuals and that but for her

       sex she would not have been so treated.”); see also Gilreath, 2017 N.C. App. LEXIS
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       307, at *16-17.

¶ 20         Plaintiffs also allege in the complaint that Lauren was denied equal protection

       on the basis of her disability, because she was isolated and segregated from the

       general student population in transportation. However, the Supreme Court has held

       that the disabled are not a suspect or quasi-suspect class entitled to special protection

       under the Equal Protection Clause. See Brown v. N.C. Dep’t of Motor Vehicles, 166

       F.3d 698, 706 (4th Cir. 1999); see also City of Cleburne v. Cleburne Living Ctr., 473

       U.S. 432, 445-46, 105 S. Ct. 3249, 3257-58, 87 L. Ed. 2d 313, 324 (1985).

¶ 21         Therefore, we conclude Plaintiffs’ claim under Section 1983 for violation of the

       Equal Protection Clause was properly dismissed under Rule 12(b)(6).

          2. Substantive Due Process

¶ 22         Plaintiffs also allege the Board deprived Lauren of her right to substantive due

       process. “Section 1983 imposes liability on state actors who cause the deprivation of

       any rights, privileges, or immunities secured by the Constitution. Under established

       precedent, these constitutional rights include a Fourteenth Amendment substantive

       due process right against state actor conduct that deprives an individual of bodily

       integrity.” Doe v. Durham Pub. Sch. Bd. of Educ., No. 1:17-CV-773, 2019 WL 331143,

       at *8 (M.D.N.C. Jan. 25, 2019); see also Farrell v. Transylvania Cnty. Bd. of Educ.,

       199 N.C. App. 173, 180, 682 S.E.2d 224, 230 (2009) (recognizing the “right to ultimate

       bodily security . . . is unmistakably established in our constitutional decisions as an
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       attribute of the ordered liberty that is the concern of substantive due process”

       (citation omitted)).     Sexual molestation of a student by a state actor may be a

       constitutional injury for purposes of Section 1983. Durham Pub. Sch. Bd. of Educ.,

       2019 WL 331143 at * 8 (citations omitted). However, “a state’s failure to protect an

       individual against private violence simply does not constitute a violation of the Due

       Process Clause.” Stevenson ex rel. Stevenson v. Martin Cnty. Bd. of Educ., 3 Fed.

       App’x 25, 32 (4th Cir. 2001) (citing DeShaney v. Winnebago County Dep’t of Social

       Servs., 489 U.S. 189, 198, 109 S. Ct. 998, 1004, 103 L. Ed. 2d 249, 260 (1989)).

¶ 23         Here, Plaintiffs allege the Board “created a dangerous environment for

       Lauren” by contracting with YVEDDI to transport disabled students, failing to

       require YVEDDI to have a monitor on the bus, and by not verifying that YVEDDI

       was monitoring the video camera. However, “to establish [Section] 1983 liability

       based on a state-created danger theory, a plaintiff must show that the state actor

       created or increased the risk of private danger, and did so directly through affirmative

       acts, not merely through inaction or omission.” Doe v. Rosa, 795 F.3d 429, 439 (4th

       Cir. 2015) (emphasis added); see also DeShaney, 489 U.S. at 201, 109 S. Ct. at1006,

       103 L. Ed. 2d at 262-63 (observing that “[w]hile the State may have been aware of

       the dangers that [the child] faced in the free world, it played no part in their creation,

       nor did it do anything to render him any more vulnerable to them . . . . Under th[o]se

       circumstances, the State had no constitutional duty to protect [the child.]”). Plaintiffs’
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       complaint does not contain factual allegations that would establish conduct by the

       Board that was so intentional or affirmative that it shocks the conscience.

¶ 24         Thus, we conclude Plaintiffs’ claim under Section 1983 for violation of

       substantive due process was properly dismissed under Rule 12(b)(6).

          3. Failure to Train and Supervise

¶ 25         Plaintiffs also allege the Board failed to properly train and supervise its

       employees, including YVEDDI and King, which led to violations of Lauren’s

       constitutional rights to equal protection. As a preliminary matter, we note our courts

       have not yet decided a failure to train claim arising under Section 1983. Therefore,

       we look to decisions of federal jurisdictions for persuasive guidance.

                    A municipality’s failure to train its officials can result in
                    liability under [S]ection 1983 only when such failure
                    reflects a deliberate indifference to the rights of its citizens
                    and the identified deficiency in a city’s training program
                    [is] closely related to the ultimate injury. Additionally, a
                    plaintiff must show a direct causal link between a specific
                    deficiency in training and the particular violation alleged.

       Hill v. Robeson Cnty., N.C., 733 F. Supp. 2d 676, 686-87 (E.D.N.C. 2010) (internal

       citations and quotation marks omitted). However, “[a] municipality’s culpability for

       a deprivation of rights is at its most tenuous where a claim turns on a failure to train.”

       Connick v. Thompson, 563 U.S. 51, 61, 131 S. Ct. 1350, 1359, 179 L. Ed. 2d 417, 426-

       27 (2011). “[D]eliberate indifference is a stringent standard of fault, requiring proof

       that a municipal actor disregarded a known or obvious consequence of his action. . . .
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       A pattern of similar constitutional violations by untrained employees is ordinarily

       necessary to demonstrate deliberate indifference for purposes of failure to train.” Id.

       at 61-62 (internal quotation marks omitted). The deficiency in training must also

       “make the occurrence of the specific violation a ‘reasonable probability rather than a

       mere possibility.’ ” Hatley v. Bowden, No. 5:13-CV-765-FL, 2014 WL 860538, at *3-4

       (E.D.N.C. Mar. 5, 2014) (quoting Semple v. City of Moundsville, 195 F.3d 708, 713
       (4th Cir. 1999)).

¶ 26         Here, Plaintiffs fail to allege sufficient factual allegations to support a liability

       claim under Section 1983 for failure to train the Board, school officials, YVEDDI, and

       King. Plaintiffs do not allege there were prior incidents of this kind, nor are there

       any factual allegations showing that the Board or school officials demonstrated a

       deliberate indifference that was likely to lead to a contracted bus driver’s sexual

       abuse of a student. The failure to train municipal personnel may rise to the level of

       an unconstitutional custom or policy, where there is a history of widespread abuse.

       City of Canton v. Harris, 489 U.S. 378, 389, 109 S. Ct. 1197, 1204, 103 L. Ed. 2d 412,

       426-27 (1989); see also Wellington v. Daniels, 717 F.2d 932, 936 (4th Cir. 1983).

       Plaintiffs further fail to identify any specific deficiency in training that led to a

       violation of Lauren’s constitutional rights. Instead, the complaint contains general

       contentions that the Board failed to provide training or supervision regarding the

       duty to “[m]onitor, perceive, and stop sexual assault and abuse.”               However,
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       allegations of mere negligence with regard to training are insufficient to state a claim

       for municipal liability. See Spell v. McDaniel, 824 F.2d 1380, 1390 (4th Cir. 1987));

       see also City of Canton, 489 U.S. at 389, 109 S. Ct. at 1205, 103 L. Ed. 2d at 427
       (finding that mere allegations regarding a city policy or custom cannot confer

       municipal liability for failure to train (citations omitted)).

¶ 27          Plaintiffs also asserted Section 1983 liability based on a failure to supervise.

                     [T]o establish supervisory liability under [Section] 1983[, a
                     plaintiff must show]: (1) that the supervisor had actual or
                     constructive knowledge that his subordinate was engaged
                     in conduct that posed ‘a pervasive and unreasonable risk’
                     of constitutional injury to citizens like the plaintiff; (2) that
                     the supervisor’s response to that knowledge was so
                     inadequate as to show ‘deliberate indifference to or tacit
                     authorization of the alleged offensive practices,’; and (3)
                     that there was an ‘affirmative causal link’ between the
                     supervisor’s inaction and the particular constitutional
                     injury suffered by the plaintiff.

       See Farrell, 199 N.C. App. at 181, 682 S.E.2d at 230 (quoting Shaw v. Stroud, 13 F.3d

       791, 799 (4th Cir.), cert. denied, 513 U.S. 813, 115 S. Ct. 67, 130 L. Ed. 2d 24 (1994)).

       Likewise, “a supervisor’s failure to train his employees can subject him to liability

       where the failure to train reflects a ‘deliberate indifference’ to the rights of citizens.”

       Durham Cnty. Bd. of Educ., 2019 WL 331143, at *8 (quoting Layman v. Alexander,

       294 F. Supp. 2d 784, 793 (W.D.N.C. 2003)); see also City of Canton, 489 U.S. at 389,

       109 S. Ct. at 1204, 103 L. Ed. 2d at 429 (holding that respondent’s civil rights claim

       was cognizable only if petitioner’s failure to train its police force “reflect[ed] a
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       deliberate indifference to the constitutional rights of its inhabitants”).

¶ 28         Here, King is the only individual Plaintiffs allege to have abused Lauren. King

       was not a subordinate of the Board. No school employee is alleged to have committed

       acts upon Lauren that violated her substantive due process rights to bodily integrity

       and to be free from sexual abuse. Thus, a claim that the Board failed to properly

       train or supervise its employees or subordinates fails.

¶ 29         Plaintiffs do not allege facts of supervisory liability sufficient to survive a

       motion to dismiss. All factual allegations in the complaint regarding the Board’s

       alleged supervisory liability consist of contentions that it failed to ensure YVEDDI

       properly trained and supervised its employees.             Such allegations simply do not

       support a plausible conclusion that the Board had actual or constructive knowledge

       that King was engaged in conduct that posed a pervasive and unreasonable risk of

       constitutional injury to Lauren.      Therefore, the trial court properly dismissed

       Plaintiffs’ Section 1983 claims against the Board for failure to train and supervise.

       B. The Board’s Motion for Summary Judgment

¶ 30         Next, Plaintiffs allege the trial court erred in granting Defendant’s motion for

       summary judgment with respect to Plaintiffs’ negligence and Title IX claims.

¶ 31         This Court reviews an appeal from a summary judgment order de novo. Forbis

       v. Neal, 361 N.C. 519, 524, 649 S.E.2d 382, 385 (2007). “Under a de novo standard of

       review, this Court considers the matter anew and freely substitutes its own judgment
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       for that of the trial court.” Reese v. Mecklenburg Cnty., 200 N.C. App. 491, 497, 685

       S.E.2d 34, 38 (2009) (citations omitted).

¶ 32         Summary judgment is appropriate “if the pleadings, depositions, answers to

       interrogatories, and admissions on file, together with the affidavits, if any, show that

       there is no genuine issue as to any material fact and that any party is entitled to a

       judgment as a matter of law.” N.C. Gen. Stat. 1A-1, Rule 56(c) (2020). “If a genuine

       issue of material fact exists, a motion for summary judgment should be denied.” Park

       East Sales, LLC v. Clark-Langley, Inc., 186 N.C. App. 198, 202, 651 S.E.2d 235, 238
       (2007) (citing Howerton v. Arai Helmet, Ltd., 358 N.C. 440, 471, 597 S.E.2d 674, 694
       (2004)).

¶ 33         To survive a motion for summary judgment in a negligence case, the plaintiff

       must establish a prima facie case of negligence. Specifically, Plaintiffs must show

       “(1) [the Board] owed the plaintiff a duty of reasonable care, (2) [the Board] breached

       that duty, (3) [the Board’s] breach was an actual and proximate cause of the plaintiff’s

       injury, and (4) the plaintiff suffered damages as the result of [the Board’s] breach.”

       Gibson v. Ussery, 196 N.C. App. 140, 143, 675 S.E.2d 666, 668 (2009) (quoting Winters

       v. Lee, 115 N.C. App. 692, 694, 446 S.E.2d 123, 124 (1994) (citations omitted)). “[T]he

       question of foreseeability is one for the jury.” Carsonaro v. Colvin, 215 N.C. App. 455,

       459, 716 S.E.2d 40, 45 (2011) (quoting Fussell v. NC Farm Bureau Mut. Ins. Co., 364

       N.C. 222, 226, 695 S.E.2d 437, 440 (2010)). Summary judgment is rarely granted in
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       negligence cases. King v. Allred, 309 N.C. 113, 115, 305 S.E.2d 554, 556 (1983).

¶ 34         “The party moving for summary judgment has the burden of establishing the

       lack of any triable issue,” and “[a]ll inferences of fact from the proofs offered at the

       hearing must be drawn . . . in favor of the party opposing the motion.” Monzingo v.

       Pitt County Memorial Hosp. Inc., 331 N.C. 182, 187, 415 S.E.2d 341, 344 (1992)

       (citations omitted).   The Board has the burden to prove Plaintiffs failed to

       demonstrate the essential elements of negligence. See id. (citations omitted).

          1. The Board’s Negligence

¶ 35         Plaintiffs contend the trial court erred in granting the Board’s motion for

       summary judgment with respect to Plaintiffs’ negligence claim. Plaintiffs argue

       genuine issues of material fact exist regarding (1) the duty of care the Board owed to

       Lauren and (2) the foreseeability of the harm Lauren suffered. While we sympathize

       with Plaintiffs for the irreparable harm Lauren suffered, we must find the trial court

       properly granted summary judgment under our current tort law.

¶ 36         First, the parties dispute whether the Board should be held to a heightened

       standard of care when making transportation decisions for special-needs students.

       Plaintiffs contend the Board had a heightened duty of care to ensure Lauren’s safety

       from the dangerous actions of others because she was a member of a vulnerable

       population. In cases where the student in question is a member of a vulnerable

       population, particularly one who possesses an IQ far below the average for her age,
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       we reiterate that the State owes a duty of care “relative to the [victim]’s maturity.”

       Nowlin v. Moravian Church in Am., 228 N.C. App. 307, 311, 745 S.E.2d 51, 54 (2013).

       In Nowlin, this Court held “foreseeability of harm to the [victim] is the relevant test

       which defines the extent of the duty to safeguard [victims] from the dangerous acts

       of others.”   Nowlin, 228 N.C. App. at 311, 745 S.E.2d at 54.            Under a pure

       “foreseeability of harm test,” we recognize a jury could reasonably conclude the Board

       owed students such as Lauren a heightened duty of care. See id.; see also Carsonaro,

       215 N.C. App. at 459, 716 S.E.2d at 45 (citing Fussell, 364 N.C. at 226, 695 S.E.2d at

       440) (holding foreseeability is generally a question to be decided by the jury). While

       we agree with Plaintiffs that the Board was required to exercise a heightened duty of

       care while making decisions regarding its special needs pupils, we find the trial court

       properly granted summary judgment under our current tort law.

¶ 37         Plaintiffs rely on Slade v. New Hanover Cnty. Bd. of Educ., 10 N.C. App. 287,

       291, 178 S.E.2d 316, 318 (1971), in which this Court recognized that certain school

       employees, such as a bus driver, have a duty to exercise a high degree of caution in

       fulfilling their employment obligations. 10 N.C. App. at 291, 178 S.E.2d at 318 (citing

       Greene v. Board of Education, 237 N.C. 336, 340, 75 S.E.2d 129, 131 (1953)). This

       Court noted that a bus driver is responsible for the safety of children of different ages

       and levels of maturity so that “it is his duty to see that those who do alight [from the

       bus] are in places of safety” and looked after with care “proportionate to the degree of
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       danger inherent in the passenger’s youth and inexperience.” Id. at 291, 295, 178

       S.E.2d at 318, 321. We emphasize the standard recognized in Slade and reiterate

       that certain school employees have a duty to exercise a high degree of caution in

       fulfilling their responsibilities. However, a fundamental principle of our current tort

       law defeats Plaintiffs’ claim in this case.          Generally, “one who employs an

       independent contractor is not liable for the independent contractor’s negligence

       unless the employer retains the right to control the manner in which the contractor

       performs his work.” Woodson v. Rowland, 329 N.C. 330, 350, 407 S.E.2d 222, 234
       (1991). The only exception to this rule is certain non-delegable duties, such as work

       involving ultrahazardous or inherently dangerous activity. Id.
¶ 38         Here, the Board delegated its duty to safely transport Stokes County students

       pursuant to N.C. Gen. Stat. § 115C-253, which provides “[a]ny local board of

       education may . . . enter into a contract with any person, firm or corporation for the

       transportation . . . of pupils enrolled in the public schools.” N.C. Gen. Stat. § 115C-

       253 (2020). Plaintiffs essentially argue the Board should be held liable in tort law

       despite the Board’s statutory authority to delegate the transportation of its students.

       However, this theory of liability ignores our current independent contractor rules.

       There is no evidence in the record to suggest the Board retained the right to control

       the manner in which YVEDDI would transport students such as Lauren. YVEDDI

       hired and controlled the drivers, owned its own vehicles, determined its routes, and
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       set its own policies. The Board researched and reviewed YVEDDI’s reputation, safety

       plans, and, after contracting, provided names and addresses of students to be

       transported, along with bell times. Therefore, the Board did not exercise the degree

       of control over YVEDDI necessary to convert YVEDDI from an independent

       contractor to an employee.

¶ 39         Nor is there any evidence to suggest that transporting students is an

       ultrahazardous or inherently dangerous activity. Moreover, the statute authorizing

       school districts to contract for student transportation expressly indicates that this is

       a delegable duty. See N.C. Gen. Stat. § 115C-253. As this Court has previously

       recognized, “the administration of the public schools of the state is best left to the

       legislative and executive branches of government.” Leandro v. State, 346 N.C. 336,

       357, 488 S.E.2d 249, 261 (1997). “[T]he courts of the state must grant every

       reasonable deference to the legislative and executive branches when considering

       whether they have established and are administering a system that provides the

       children of the various school districts of the state a sound basic education.” Id.
       Therefore, while we agree that the Board should exercise the utmost standard of care

       while making decisions regarding its students, we are obliged to find the Board could

       properly delegate any duty owed to Lauren to an independent contractor such as

       YVEDDI under our current law. See In re Civil Penalty, 324 N.C. 373, 384, 379 S.E.2d

       30, 37 (1989) (“Where a panel of the Court of Appeals has decided the same issue,
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       albeit in a different case, a subsequent panel of the same court is bound by that

       precedent, unless it has been overturned by a higher court.” (citations omitted)).

¶ 40         Although no North Carolina court has considered whether the duty to

       transport students safely is delegable on these facts, other jurisdictions have

       expressly declined to extend tort liability in circumstances where the harm occurred

       when the student was not in the school’s physical custody. In Chainani v. Bd. of

       Educ. of City of New York, 663 N.E.2d 283, 286 (N.Y. 1995), New York’s high court

       rejected the argument that safe transportation of students was non-delegable and

       held that “the schools had contracted-out responsibility for transportation, and

       therefore cannot be held liable on a theory that the children were in their physical

       custody at the time of injury.” The court noted that the legislature authorized schools

       to contract with third parties for student transportation; thus, the school districts

       were “relying reasonably on the company to act responsibly in protecting the safety

       of the children it was charged to transport.” Id. Similarly, in Dixon v. Whitfield, 654

       So. 2d 1230, 1232 (Fla. Dist. Ct. App. 1995), the court observed that, given the

       statutes and regulations authorizing contractors to transport public school students,

       “the parties cite no controlling Florida authority, and we could find none in our own

       research, for the proposition that the safe transportation of public school students is

       a nondelegable duty.” Id. The same is true in North Carolina. Absent guidance from

       our Supreme Court or our legislature, we must hold the Board is not an “insurer of
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       student safety,” see Payne v. N. Carolina Dep’t of Human Res., 95 N.C. App. 309, 313,

       382 S.E.2d 449, 451 (1989), but delegated any duty it owed to Lauren pursuant to the

       statutory authority found in N.C. Gen. Stat. § 115C-253. In our discretion, we

       address the foreseeability of Lauren’s injury.

¶ 41         While we are bound by our precedent and affirm the order of the trial court,

       we recognize there is no genuine dispute as to the foreseeability of Lauren’s injury.

       Here, Lauren was a twenty-year-old special-needs student with an IQ of forty-one

       and severe diabetes. Testimony from Lauren’s teacher, nurse, assistant, principal,

       yellow bus driver, and the superintendent demonstrates Lauren was vulnerable,

       immature, and susceptible to exploitation. Lauren had the functional capacity of a

       first-grade student and lacked the capability to comprehend and consent to the sexual

       acts committed against her. In addition to her mental disabilities, Lauren’s diabetes

       and related medical care required constant adult supervision during the school day.

       On several occasions, while enrolled in SCS, Lauren had to go to the hospital directly

       from her school for medical care.       It is undisputed that Lauren’s intellectual

       disabilities and medical fragility render her highly susceptible to exploitation and

       harm without proper monitoring and support.

¶ 42         The Special Education environment is full of specialized customs and practices

       designed to provide the particular care, supervision, and protections needed to enable

       each individual student access to an appropriate education.         Where there is an
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                                           Opinion of the Court



       existing custom or practice in place utilized to protect a special-needs student, it

       stands to reason a harm could be more likely in the absence of such a custom. See

       Briggs v. Morgan, 70 N.C. App. 57, 61, 318 S.E.2d 878, 881-82 (1984) (A customary

       practice “is normally relevant and admissible as an indication of what the community

       regards as proper” to address the risks of a particular individual. (citation omitted)).

       Because the Board’s customary practice had been to provide transportation for

       Lauren on an exceptional students school bus staffed with a safety monitor, we

       emphasize that Lauren’s injury was one that could have been prevented.

¶ 43         Absent guidance by our legislature, we are obliged to hold the trial court did

       not err in granting summary judgment. To hold otherwise would be to ignore the

       independent contractor rule, that states when an employer properly delegates a duty

       pursuant to a statutory authority, its duty ceases. Because we are bound by our

       precedent, we hold the trial court did not err in granting summary judgment.

          2. Title IX.

¶ 44         Plaintiffs further contend that the trial court erred in granting the Board’s

       motion for summary judgment on the Board’s alleged violation of Title IX. We

       disagree.

¶ 45         As discussed supra, this Court reviews an appeal from a summary judgment

       order de novo. Forbis, 361 N.C. at 524, 649 S.E.2d at 385. Pursuant to Rule 56 of our

       rules of civil procedure, summary judgment is appropriate where there is no genuine
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       dispute of material fact. N.C. Gen. Stat. § 1A-1, Rule 56. Generally, the moving party

       “has the burden of demonstrating a lack of triable issues.” Monzingo, 331 N.C. at

       187, 415 S.E.2d at 344. In reviewing a motion for summary judgment, the trial court

       must view the evidence in the light most favorable to the nonmoving party. Id.
¶ 46         Title IX prohibits sex-based discrimination in education programs or activities

       receiving federal financial assistance. See 20 U.S.C. § 1681 et seq. Sexual harassment

       and abuse of a student can constitute discrimination “on the basis of sex” under Title

       IX. Franklin v. Gwinnett Cnty. Pub. Sch., 503 U.S. 60, 75, 112 S. Ct. 1028, 1037, 117

       L. Ed. 2d 208, 223 (1992). However, an institution such as the Board can be held

       liable for a Title IX violation if “an official who at a minimum has authority to address

       the alleged discrimination and to institute corrective measures . . . has actual

       knowledge of discrimination in the [institution]’s programs and fails adequately to

       respond. . . . [It] amount[s] to deliberate indifference to discrimination.” Gebser v.

       Lago Vista Indep. Sch. Dist., 524 U.S. 274, 290, 118 S. Ct. 1989, 1999, 141 L. Ed. 2d

       277, 292 (1998).

¶ 47         The 11th Circuit Court of Appeals (“11th Circuit”) found that “[t]o survive a

       summary judgment motion, a Title IX plaintiff must present evidence from which a

       reasonable jury could conclude the Title IX recipient’s deliberate indifference to the

       initial discrimination subjected the plaintiff to further discrimination.”       Hill v.

       Cundiff, 797 F.3d 948, 973 (11th Cir. 2015) (internal quotation marks omitted). “The
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       deliberate indifference standard is rigorous and hard to meet.” Id. at 975. We find

       the 11th Circuit’s reasoning compelling and apply its rationale in this instance.

¶ 48            In this case, Plaintiffs’ Title IX claim fails because no school employee or Board

       member had actual knowledge of King’s sexual abuse of Lauren until after he had

       been arrested and terminated.            The undisputed evidence shows school officials

       learned that King had abused Lauren only after the sheriff notified Ms. Powell, who

       in turn, contacted the school principal. In the absence of any evidence that a school

       official or Board member with authority to remedy alleged discrimination had actual

       knowledge of King’s abuse of Lauren, there is no genuine issue of material fact as to

       Plaintiffs’ Title IX claim against the Board. Therefore, we affirm the trial court’s

       grant of summary judgment in favor of the Board with respect to Plaintiffs’ Title IX

       claim.

                                         III.      Conclusion

¶ 49            We hold the trial court properly dismissed Plaintiffs’ claims under Section 1983

       and granted summary judgment with respect to Plaintiffs’ Title IX claim. Under our

       current tort law, and, absent any guidance from our Supreme Court and legislature,

       we find the trial court did not err in granting summary judgment in favor of the Board

       on the issue of negligence pursuant to the independent contractor rule. Accordingly,

       we affirm the order of the trial court.

                AFFIRMED.
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                           Opinion of the Court



Judge DIETZ concurs by separate opinion.

Judge ARROWOOD concurs by separate opinion.
                          OSBORNE V. YADKIN VALLEY ECON. DEV. DIST. INC.

                                          2021-NCCOA-454

                                          DIETZ, J., concurring




       No. COA20-485 – Osborne v. Yadkin Valley Econ. Dev. Dist. Inc.


       DIETZ, Judge, concurring by separate opinion.

¶ 50         I concur in the majority’s judgment. I write separately to address two issues.

       First, I do not agree with the statements in the majority opinion and my concurring

       colleague’s opinion that “there is no genuine dispute as to the foreseeability of

       Lauren’s injury” and that “the injury in this case was certainly foreseeable.”

¶ 51         I am not prepared to hold that the felony sexual assault of a vulnerable special-

       needs student is always foreseeable to school officials as a matter of law. Criminal

       acts ordinarily are not foreseeable under tort law principles. Foster v. Winston-Salem

       Joint Venture, 303 N.C. 636, 638, 281 S.E.2d 36, 38 (1981). Had this claim reached a

       jury, the foreseeability of Lauren’s injury and issues of superseding and intervening

       causation would have been core disputed facts to be resolved by the jury. Hairston v.

       Alexander Tank &amp; Equip. Co., 310 N.C. 227, 237–38, 311 S.E.2d 559, 567 (1984).

¶ 52         Second, I do not agree with my concurring colleague that there are

       “inconsistencies . . . in the protections that are afforded to our most vulnerable

       children depending on whether the school system provides the transportation or

       contracts with a third party.” The duty of care owed to Lauren and every other school

       student is the same whether their transportation is provided by the school itself or
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                                   2021-NCCOA-454

                                  DIETZ, J., concurring



by a contractor who has taken on that duty. Whatever heightened level of protection

the school district owed Lauren because of her special needs, the duty to provide that

same level of protection passed to YVEDDI under the independent contractor rule.
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                                      ARROWOOD, J., concurring




       No. COA20-485 – Osborne v. Yadkin Valley Economic Dev. Dist. Inc.


       ARROWOOD, Judge, concurring by separate opinion.

¶ 53         I concur in the majority opinion as being necessitated by law but write

       separately to express my concerns with the interaction between the statutory scheme

       and our caselaw. The statute authorizing delegation of the duty to transport public

       school students has effectively permitted boards of education to contract out of the

       heightened standard of care that this Court has previously held them to.

¶ 54         With respect to safeguarding public school students, this Court has held that

       the party charged with safeguarding our youth owes a duty of care “relative to the

       [victim]’s maturity[,]” specifically defining the extent of the duty required by the

       “foreseeability of harm to the [victim.]” Nowlin v. Moravian Church in Am., 228 N.C.

       App. 307, 311 745 S.E.2d 51, 54 (2013) (holding that camp employees have a duty to

       exercise the same standard of care that a person of ordinary prudence, charged with

       the duty of supervising campers, would exercise under the same circumstances).

       Similarly, this Court held “[t]he care which a school bus driver must exercise toward

       a school bus passenger is proportionate to the degree of danger inherent in the

       passenger’s youth and inexperience.” Slade v. New Hanover Cty. Bd. of Ed., 10 N.C.

       App. 287, 295, 178 S.E.2d 316, 321 (1971). Both standards reinforce the higher
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                                        ARROWOOD, J., concurring



       standard of care owed by the governmental authority to public school students under

       supervision, especially in situations where a student is more vulnerable.

¶ 55            Although this standard would apply here had the van driver been directly

       employed by the school system, the standard does not apply in the case sub judice for

       two reasons. First is N.C. Gen. Stat. § 115C-253 (2019), which allows any board of

       education to delegate their duty to transport public school students to “any person,

       firm or corporation[.]” The second is the well-established principle in our state’s tort

       law that generally, “one who employs an independent contractor is not liable for the

       independent contractor’s negligence unless the employer retains the right to control

       the manner in which the contractor performs his work.” Woodson v. Rowland, 329

       N.C. 330, 350, 407 S.E.2d 222, 234 (1991) (citation omitted). There is an exception to

       this rule only for certain non-delegable duties, including ultrahazardous or inherently

       dangerous activity. Id. In this case, because transporting students to school does not

       qualify as an ultrahazardous or inherently dangerous activity, the exception does not

       apply.

¶ 56            Taken together, Woodson and N.C. Gen. Stat. § 115C-253 effectively eliminate

       the Board of Education’s duty to any public student unfortunate enough to find

       themselves in a vehicle operated by an independent contractor. Although this Court

       has held the governmental authority to a higher standard of care for bus drivers

       employed directly by the school district, the statute relieves them of their duty
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                                        ARROWOOD, J., concurring



       without any other apparent safeguards or higher standards with respect to who may

       be entrusted with the duty of transporting and supervising public school students.

       Absent further guidance from our General Assembly, it appears the standard of care

       owed by the governmental authority in these contexts depends entirely on how the

       driver is employed.

¶ 57         As the majority pointedly notes, the injury in this case was certainly

       foreseeable. Public school students, particularly vulnerable students like Lauren, are

       inherently at greater risk of injury and are accordingly owed a higher standard of

       care in these contexts. This duty is originally the Board of Education’s to bear.

¶ 58         Given the interplay between Woodson and N.C. Gen. Stat. § 115C-235, I am

       compelled to concur in the result, but I write to point out the inconsistencies that this

       result creates in the protections that are afforded to our most vulnerable children

       depending on whether the school system provides the transportation or contracts

       with a third party. While I question whether this was the result that was intended

       when the statute was enacted, I see no avenue for relief from this conundrum absent

       legislative action or our Supreme Court’s revisiting of the Woodson doctrine.
